           Case 8:17-cv-01596-PJM Document 45 Filed 11/02/17 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND



 THE DISTRICT OF COLUMBIA AND
 THE STATE OF MARYLAND,

                         Plaintiffs,

 vs.
                                                      Case No. 8:17-cv-01596-PJM
 DONALD J. TRUMP, in his official
 capacity as President of the United States of
 America,

                         Defendants.


               REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR
            LEAVE TO SERVE DOCUMENT PRESERVATION SUBPOENAS

       On October 25, 2017, Plaintiffs moved for leave to serve document preservation subpoenas

on several non-party entities. Dkt. 43. There is good cause for the relief requested, and President

Trump does not oppose it. Dkt. 44 at 1 (“[W]e leave it to those third parties to lodge any appropriate

objections to such subpoenas if and when they are served.”). The motion should accordingly be

granted.

       The President’s sole objection concerning the motion is limited to “the extent the proposed

‘preservation subpoenas’ are intended to be used to litigate the possible scope of discovery.” Dkt.

44 at 2. But on that point the President and Plaintiffs are in complete accord. It is precisely because

no discovery is anticipated prior to this Court’s resolution of the motion to dismiss that Plaintiffs

seek leave to preserve documents that may be relevant once discovery begins. Moreover, nothing

about the issuance of document preservation subpoenas requires the parties to litigate—or the

Court to adjudicate—the scope of discovery now. Document preservation subpoenas require only

that documents be preserved, not that they be produced. If there is a dispute regarding document
         Case 8:17-cv-01596-PJM Document 45 Filed 11/02/17 Page 2 of 3



production during discovery, it can be resolved at that time.1

       For the foregoing reasons, as well as those set forth in the opening motion, Plaintiffs

respectfully request the motion be granted.


November 2, 2017                                             Respectfully submitted,

THE DISTRICT OF COLUMBIA                                     THE STATE OF MARYLAND

KARL A. RACINE                                               BRIAN E. FROSH
Attorney General for the District of Columbia                Attorney General of Maryland

NATALIE O. LUDAWAY                                           /s/ Steven M. Sullivan
Chief Deputy Attorney General                                STEVEN M. SULLIVAN
                                                             Federal Bar No. 24930
/s/ Stephanie E. Litos                                       ssullivan@oag.state.md.us
STEPHANIE E. LITOS*                                          PATRICK B. HUGHES
Senior Counsel to the Attorney General                       Federal Bar No. 19492
stephanie.litos@dc.gov                                       phughes@oag.state.md.us
441 Fourth Street, N.W.                                      Assistant Attorneys General
Washington D.C. 20001                                        200 Saint Paul Place, 20th Floor
T: (202) 724-6650                                            Baltimore, MD 21202
F. (202) 741-0647                                            T: (410) 576-6325
                                                             F. (410) 576-6955


NORMAN L. EISEN                                              JOSEPH M. SELLERS
Federal Bar No. 09460                                        Federal Bar No. 06284
neisen@citizensforethics.org                                 jsellers@cohenmilstein.com
NOAH D. BOOKBINDER*                                          CHRISTINE E. WEBBER*
nbookbinder@citizensforethics.org                            Cohen Milstein Sellers & Toll PLLC
STUART C. MCPHAIL*                                           1100 New York Avenue, N.W.
smcphail@citizensforethics.org                               Washington, D.C. 20005
Citizens for Responsibility and Ethics                       T: (202) 408-4600
  in Washington
455 Massachusetts Avenue, N.W.
Washington, D.C. 20001
T: (202) 408-5565
F: (202) 588-5020

1
 The entities that Plaintiffs wish to serve with document preservation subpoenas were provided
notice of Plaintiffs’ Motion for Leave to Serve Document Preservation Subpoenas the day after it
was filed. As the President noted, those entities will have an opportunity to object to the
subpoenas if and when they are served.
                                                 2
         Case 8:17-cv-01596-PJM Document 45 Filed 11/02/17 Page 3 of 3




DEEPAK GUPTA*
deepak@guptawessler.com
JONATHAN E. TAYLOR*
Gupta Wessler PLLC
1900 L Street, N.W.
Washington, D.C. 20009
T: (202) 888-1741

                                    Attorneys for Plaintiffs

                                    *admitted pro hac vice



                               CERTIFICATE OF SERVICE


       I hereby certify that on November 2, 2017, I electronically filed this Reply in Support of

Plaintiffs’ Motion for Leave to Serve Document Preservation Subpoenas with the Clerk of the

Court using the CM/ECF filing system.


                                                   /s/ Stephanie Litos
                                                   Stephanie Litos




                                               3
